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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                      MONROE DIVISION

 UNITED STATES OF AMERICA                         *     CRIMINAL NUMBER 15-0058-02


 VERSUS                                           *     JUDGE ROBERT G. JAMES


 KEVIN HONEYCUTT                                  *     MAG. JUDGE KAREN L. HAYES


                                      JUDGMENT

       The Report and Recommendation of the Magistrate Judge having been considered,

together with the written objections thereto filed with this Court, and, after a de novo review of

the record, finding that the Magistrate Judge’s Report and Recommendation is correct and that

judgment as recommended therein is warranted,

       IT IS ORDERED that the Motion to Suppress [Doc. No. 49] filed by Defendant Kevin

Honeycutt is hereby DENIED.

       MONROE, LOUISIANA, this 6th day of October, 2015.
